                 Case 22-40667                        Doc 13         Filed 06/10/22 Entered 06/10/22 16:46:47                                    Desc Main
                                                                       Document     Page 1 of 6

 Fill in this information to identify your case:

                    Cameron M. Peroni
 Debtor 1
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing)   First Name         Middle Name          Last Name



 United States Bankruptcy Court for the: Eastern District of Texas

 Case number        22-40667
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                           Debtor 1                                               Debtor 2

                                                                           Sources of income         Gross income                 Sources of income          Gross income
                                                                           Check all that apply      (before deductions           Check all that apply       (before deductions
                                                                                                     and exclusions)                                         and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                            Wages,               $ Unknown                         Wages,              $
                                                                              commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business


         For last calendar year:
                                                                              Wages,               $ 0.00                            Wages,              $
         (January 1 to December 31, 2021                                      commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business


         For the calendar year before that:
                                                                              Wages,               $ Unknown                         Wages,              $
         (January 1 to December 31, 2020                                      commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 6
                  Case 22-40667                Doc 13          Filed 06/10/22 Entered 06/10/22 16:46:47 Desc Main
Debtor          Cameron M. Peroni
               First Name     Middle Name   Last Name
                                                                 Document     Page 2 of 6       Case number(if known) 22-40667



5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                             Nature of the case                      Court or agency                                 Status of the
                                                                                                                                                     case

    Case title:                                                                                                                                         Pending
    JONAS JOHANSSON ET AL                                    ; Date filed: 02/22/2022
                                                                                                    11th Judicial Circuit Court, Miami-Dade County      On appeal
    VS CAMERON PERONI ET AL                                                                         Court Name
    Case number:                                                                                                                                        Concluded
    2022-003371-CA-01                                                                               175 NW 1st Ave
                                                                                                    Number     Street
                                                                                                    Miami FL         33128
                                                                                                    City     State   ZIP Code



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 2 of 6
                    Case 22-40667                  Doc 13          Filed 06/10/22 Entered 06/10/22 16:46:47 Desc Main
Debtor            Cameron M. Peroni
                 First Name       Middle Name   Last Name
                                                                     Document     Page 3 of 6       Case number(if known) 22-40667



10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.

              Gifts or contributions to charities that              Describe what you contributed                                  Date you      Value
              total more than $600                                                                                                 contributed
                                                                                                                                   12/2021       $ 1,000.00
                                                                   Donation
          Autism Speaks
          Charity’s Name


          Number         Street
          .          .        .
          City       State    ZIP Code
              Gifts or contributions to charities that              Describe what you contributed                                  Date you      Value
              total more than $600                                                                                                 contributed
                                                                                                                                   12/2021       $ 1,200.00
                                                                   Donation
          York County Food Bank
          Charity’s Name
          254 W Princess St
          Number         Street
          York PA             17401
          City       State    ZIP Code
              Gifts or contributions to charities that              Describe what you contributed                                  Date you      Value
              total more than $600                                                                                                 contributed
                                                                                                                                   12/2021       $ 1,000.00
                                                                   Donation
          Wounded Warrior Project
          Charity’s Name


          Number         Street
          .          .        .
          City       State    ZIP Code


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:          List Certain Payments or Transfers




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 3 of 6
                    Case 22-40667                  Doc 13          Filed 06/10/22 Entered 06/10/22 16:46:47 Desc Main
Debtor            Cameron M. Peroni
                 First Name       Middle Name   Last Name
                                                                     Document     Page 4 of 6       Case number(if known) 22-40667



16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                    Description and value of any property transferred              Date payment      Amount of
                                                                                                                                   or transfer was   payment
                                                                                                                                   made
                                                                                                                                   5/18/2022         $ 5,488.00
                                                                   Cash
          Tittle Law Group, PLLC                                                                                                                     $ 5,488.00
          Person Who Was Paid
          5550 Granite Pkwy
          Number         Street
          Suite 290

          Plano TX            75024
          City       State    ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:          Identify Property You Hold or Control for Someone Else




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 4 of 6
                  Case 22-40667                 Doc 13          Filed 06/10/22 Entered 06/10/22 16:46:47 Desc Main
Debtor          Cameron M. Peroni
               First Name     Middle Name    Last Name
                                                                  Document     Page 5 of 6       Case number(if known) 22-40667



23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:        Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                page 5 of 6
                 Case 22-40667                    Doc 13          Filed 06/10/22 Entered 06/10/22 16:46:47 Desc Main
Debtor         Cameron M. Peroni
              First Name         Middle Name   Last Name
                                                                    Document     Page 6 of 6       Case number(if known) 22-40667




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Cameron M. Peroni
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 06/10/2022                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6 of 6
